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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


UNITED STATES OF AMERICA,                  :
                                           :
     Plaintiff,                            :
                                           :          CRIMINAL ACTION NO.
     v.                                    :             1:17-cr-0224-AT-1
                                           :
ALLEN J. PENDERGRASS,                      :
                                           :
     Defendant.                            :




            ORDER MODIFYING CONDITIONS OF RELEASE


      Presently before the Court is defendant’s Motion to Modify Bond

Conditions [Doc. 325]. Neither the Government nor defendant’s supervising

officer object to the removal of defendant’s location monitoring.

      Accordingly, it is ORDERED that the conditions of release are hereby

MODIFIED to terminate location monitoring. All other terms of Defendant’s

supervised release remain unaffected by this order.

      It is ORDERED that the Clerk serve a copy of this order modifying

conditions of release upon Defendant, the Probation Officer of the Court, the

United States Attorney, and the United States Marshal.
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It is so ORDERED this 18th day of November, 2022.



                                   ___________________________________
                                   AMY TOTENBERG
                                   UNITED STATES DISTRICT JUDGE




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